IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

Rick Woodward and Billy Marlow
In their Individual Capacities et al

Rustin G. Jackson )
v. ) Civil Action No. 3:04-cv-344
State of Tennessee )
County of Campbell as a body politic, }
Darryl! Mongar, Dustin Rose, }
)
)

Entry of Default for Defendant Dustin Rose

It appearing that the 2™! amended complaint was filed in this case on 3/10/2004;
that the summons and complaint were duly served upon the defendant, Dustin Rose, and
no answer or other pleading to the 2" amended complaint has been filed by said
defendant as required by law;

Therefore, upon request of the plaintiff, default is hereby entered against the
defendant, Dustin Rose, as provided in Rule 55(a), Federal Rules of Civil Procedure.

By

Deputy Clerk

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